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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


  JANICE A. BARTLESON,

         Plaintiff,                                          CASE NO.:

  v.

  MIAMI-DADE COUNTY SCHOOL BOARD

         Defendant,
                                                   /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Plaintiff, Janice A. Bartleson, by and through her undersigned counsel

  and hereby, brings this employment discrimination action against Defendant, MIAMI-DADE

  COUNTY SCHOOL BOARD and in support thereof states as follow:

                                        INTRODUCTION

         1.      This is an action for declaratory and injunctive relief and damages arising out of

  Defendant’s development, procurement, installation, and maintenance of websites and computer

  software that are inaccessible to Plaintiff in violation of the Americans with Disabilities Act,

  (“ADA”) 42 U.S.C. §§ 12101, 12132 et seq., Section 504 of the Rehabilitation Act, 29 U.S.C. §

  794, the Florida Educational Equity Act, F.S.A. § 1000.05 et seq., and the Florida Civil Rights

  Act, F.S.A. 76.01 et seq.

         2.      Miami-Dade County School Board (“the Board”) is the governing body of

  Miami-Dade County Public Schools (“MDCPS”). The Board directs, controls, and supervises the

  operation and administration of all schools, programs and activities within the MDCPS system.
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         3.      Plaintiff Janice A. Bartleson, Ph.D. (“Dr. Bartleson”) is an employee of MDCPS;

  she serves as a counselor and emotional/behavioral disabilities (“E/BD”) clinician.

         4.      Dr. Bartleson is blind. She uses screen access software, Jobs Access with Speech

  (“JAWS”), to interact with websites and computer programs.

         5.      Dr. Bartleson has been an MDCPS employee for 26 years. The Board, through its

  executive leadership, is aware of her disability and need for screen reader-compatible

  technology.

         6.      Dr. Bartleson is qualified to perform the essential functions of her job. She holds a

  doctorate degree in clinical psychology. She receives strong reviews and yearly contract

  renewals. In 2016, the MDCPS ADA District Consultative Committee (“ADA-DCC”) stated

  that Dr. Bartleson “continue[s] to be a qualified individual within the meaning of the Americans

  with Disabilities Act.”

         7.      As a qualified person with a disability, Dr. Bartleson is entitled to be free from

  discrimination by the Board, may not be denied the benefits, services, programs, or activities that

  the Board provides, and is entitled to meaningful access to such.

         8.      MDCPS utilizes several software applications and web platforms that are not

  compatible with screen readers used by blind individuals to access computers. As a result, Dr.

  Bartleson is unable to utilize these critical tools without the assistance of a sighted co-worker.

  She is also unable to seek out or apply for promotions for which she is eligible and interested. In

  fact, when Dr. Bartleson recently expressed a desire to apply for a new position, she was

  discouraged from submitting an application due to the inaccessible technology that she would

  need to use for the job.



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         9.      When computer programs and online applications and platforms are properly

  coded to interact with screen access software and other assistive technology, the features,

  functions and content of those programs are accessible to blind individuals like Dr. Bartleson.

  When they are not so properly coded, blind people are completely shut out from vital

  information.

         10.     Dr. Bartleson has brought the accessibility barriers described in this Complaint to

  the Board’s attention. The Board, however, has ignored her concerns.

         11.     By using criteria and methods of administration to consistently and repeatedly

  develop, procure, use, and maintain inaccessible technology, the Board is discriminating against

  Dr. Bartleson by making it impossible for her to participate equally and advance in her career.

         12.     It would not be unduly burdensome for the Board to adopt methods of

  administration that would foster inclusivity and equal access for blind employees, nor would the

  Board need to fundamentally alter its nature to ensure that accessible technology is developed,

  procured, maintained or used. To ensure Dr. Bartleson is not excluded from participation in and

  denied the benefits, services, conditions and privileges of MDCPS, including effective

  communication, the Board need only make reasonable modifications to its policies, practices and

  procedures governing the development, procurement, maintenance and use of accessible

  technology.

                                  JURISDICTION AND VENUE

         13.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331 and 1343 because Dr. Bartleson’s claims arise under Titles I and II of the Americans

  with Disabilities Act (“ADA”), 42 U.S.C. §§ 12111, 12112, 12131, and Section 504 of

  Rehabilitation Act (“Section 504”), 29 U.S.C. § 794.

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         14.     This Court has supplemental jurisdiction over Dr. Bartleson’s state law claims

  pursuant to 28 U.S.C. § 1367.

         15.     Venue in this Court is proper pursuant to 28 U.S.C. §1391(b).

                                              PARTIES

         16.     Dr. Bartleson is a blind educator. She has been a resident of Miami-Dade County

  and an employee of MDCPS for more than 25 years. She lives in Coral Gables, Florida and

  works as a counselor and E/BD clinician at Miami Senior High School. She is a qualified

  individual with a disability subject to the protections afforded under Titles I and II of the ADA

  42 U.S.C. §§ 12111, et seq., § 12181, et seq., Section 504 of the Rehabilitation Act of 1973, 29

  U.S.C. § 794, Florida Educational Equity Act, F.S.A. § 1000.05 et seq., and the Florida Civil

  Rights Act, F.S.A. 76.01 et seq.

         17.     Defendant Miami-Dade County School Board is the governing body of the School

  District of Miami-Dade County, see Fla. Stat. § 1001.40(a); it is the fourth largest school district

  in the country and organized pursuant to Section 4(a), Article IX of the Florida State Constitution

  and Sections 1001.371 and 1001.40 of Florida’s Education Code. The Board is responsible for

  directing, controlling, and supervising the operation and administration of all schools within

  MDCPS. Fla. Const. Art. IX, § 4(b); Fla. Stat. §§ 1001.32(2), 33.

         18.     The Board employs more than 33,000 people and constitutes an “employer” and

  “covered entity” under Title I of the ADA. 42 U.S.C. § 12111(2),(5)(A).

         19.     The Board operates and delivers all K-12 educational programs, services, and

  activities in Miami-Dade County as part of the state system of public education. Fla. Stat. §

  1001.32(1). As a local government entity, the Board is a “public entity” under Title II of the

  ADA. 42 U.S.C. § 12131(1)(A)-(B).

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         20.     The Board receives federal financial assistance through the Florida State

  Department of Education and thus must comply with Section 504 of the Rehabilitation Act of

  1973, 29 U.S.C. § 794.

                                     STATEMENT OF FACTS

         21.     Dr. Bartleson has retinitis pigmentosa, a degenerative eye disease. Her vision

  began to deteriorate when she was an undergraduate student. By the time she was 26, she was no

  longer able to drive. Dr. Bartleson has been blind for more than 30 years.

         22.     Dr. Bartleson’s ability to see is substantially limited by her blindness.

         23.     Dr. Bartleson relies on visual aids and alternative techniques to walk, read, and

  interact with a computer. Dr. Bartleson uses a guide dog or white cane to travel independently.

  To independently interact with a computer, she uses screen reader software that magnifies text

  and images, as well as screen reader software that translates text and images into audio format.

         24.     Dr. Bartleson has never let blindness define who she is, nor has she allowed her

  blindness to keep her from pursuing her passion for students, particularly those who are often

  overlooked and in need of special education. Motivated to help students, Dr. Bartleson earned a

  Bachelor’s degree in psychology from the University of Florida in 1979. In 1989, she earned a

  Ph.D. in counseling psychology with high honors from the same institution. Since 1992, Dr.

  Bartleson has held a Professional Educator’s Certificate from the State of Florida and has been

  licensed as a psychologist by the State of Florida. Dr. Bartleson has also served as an adjunct

  professor for the past seven years at Florida International University where she teaches graduate

  students who are preparing to be counselors for students with disabilities.

         25.     Dr. Bartleson has dedicated her professional life to public education. Two years

  after completing her doctorate, Dr. Bartleson applied to MDCPS for a school counselor position

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  because she wanted to help children become productive adults. Since that time, she has served

  as a full-time school psychologist with MDCPS.

         26.       Dr. Bartleson has worked at three schools in the MDCPS system. She was a

  counselor and clinician at South Miami Middle School for approximately ten years. She

  transferred to W.R. Thomas Middle School, where she worked as a counselor and clinician for

  the next 13 years. In 2016, Dr. Bartleson transferred to Miami Senior High School where she

  continues to work as a counselor and E/BD Clinician.

         27.       Dr. Bartleson provides clinical services to students with emotional disabilities.

  Dr. Bartleson provides individual and group counseling, crisis intervention, and conflict

  resolution. She also consults with parents, teachers and staff, participates in IEP meetings, see

  20 U.S.C. § 1414(d)(1)-(4), and reviews Behavioral Intervention Plans.

         28.       Dr. Bartleson uses screen access software, JAWS, as her primary means for

  interacting with computer programs and online applications and platforms. JAWS translates

  digital content into audio output and allows Dr. Bartleson to use nonvisual keyboard inputs to

  navigate the site and input data into programs.

         29.       The Board develops, procures, uses, and maintains computer programs and online

  applications and platforms that are not compatible with screen readers and thus not accessible to

  Dr. Bartleson.

         30.       For example, the Integrated Student Information System (“ISIS”) is an online

  digital database that contains all pertinent student information, including attendance records,

  student grades, health records, contact information, and student schedules. All administrators,

  counselors, and psychologists have access to ISIS and are required to interact with the program.



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  Dr. Bartleson is expected to input data into the ISIS program, create folders with database

  information, and produce Student Case Management Summaries.

         31.     ISIS is not compatible with screen readers. As a result, Dr. Bartleson cannot

  perform the vast majority of the program’s functions.

         32.     For several years, Dr. Bartleson has talked with school officials about these

  accessibility problems. The school district persisted in ignoring her concerns. Dr. Bartleson has

  been forced to rely on others to document student progress, obtain family contact information,

  schedule counseling sessions, or print out reports through ISIS.

         33.     The Board similarly uses a scheduling program called Aspen and a grade system

  called Pinnacle. Dr. Bartleson is not able to use either because they are incompatible with screen

  readers. Again, she must rely on others to use these employment tools.

         34.     Similarly, the Board contracts with a private vendor for access to GoLeaps.com, a

  web based program that provides assessments, lessons, interventions, and other resources. Dr.

  Bartleson is required to use this system to conduct assessments of her students, but cannot do so

  without the assistance of a sighted co-worker by her side. Moreover, she is denied ready access

  to the lessons and potential intervention resources that are available to her sighted peers through

  the program.

         35.     GoLeaps.com is not compatible with screen readers. To access the assessments,

  Dr. Bartleson must have a sighted person log into the program, read the questions aloud, and

  input her answers. On information and belief, the lessons and interventions are scanned into the

  program as untagged images. As a result, a screen reader cannot translate the text into audio

  output. To access such information, Dr. Bartleson must print out the lessons and have a sighted

  person read them to her.

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         36.        Dr. Bartleson told her supervisor about GoLeaps.com’s accessibility problems.

  The Board has taken no action to work with the vendor to ensure access.

         37.        MDCPS’s website, www.dadeschools.net, is the main point of access for ISIS,

  GoLeaps.com, and most other portals. The Records and Forms tabs of www.dadeschools.net is

  not compatible with screen readers. As a result, Dr. Bartleson cannot use many of the forms that

  she needs, including but not limited to, those relating to consent, intake, student profiles, service

  encounters, scheduling, interviews, progress notes, and behavior intervention planning.

         38.        Dr. Bartleson has also encountered barriers in accessing employee benefits. For

  example, most employees can register for health insurance www.dadeschools.net. But because

  of accessibility barriers on that website, Dr. Bartleson is unable to do so. She must use a sighted

  assistant to help her register for coverage and to perform any of the other functions available to

  her sighted peers.

         39.        The Board’s approach to procuring, using, and maintaining technology has had a

  negative impact on Dr. Bartleson’s professional development. For example, the Board has

  utilized a paper-based evaluation system without regard for Dr. Bartleson’s inability to access

  print. Dr. Bartleson has never been able to privately review any of her evaluations before

  signing them, even though such documents could easily have been converted into an accessible

  digital format.

         40.        Likewise, the Board utilizes My Learning Plan, a professional development

  application. Because My Learning Plan is not compatible with screen readers, Dr. Bartleson

  cannot perform or use any of the program’s features.

         41.        On March 9, 2016, Dr. Bartleson met with a Board employee for her evaluation

  for the 2014-15 school year. Employees are measured across seven performance standards and

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  assessed as highly effective, effective, developing/needs improvement, or unsatisfactory. Dr.

  Bartleson’s supervisor assessed her as “highly effective” on each performance standard except

  for standard three, “Program Management.”         For that standard, Dr. Bartleson’s supervisor

  assessed her as merely “effective.” On information and belief, the “effective” rating was due to

  Dr. Bartleson’s lack of data input, which directly resulted from the fact that she could not access

  the programs, applications and platforms used to complete these tasks.

         42.     Dr. Bartleson has brought these accessibility barriers to her supervisors’ attention.

  For at least two years, Robin Morrison, Dr. Bartleson’s supervisor, and others serving in

  leadership roles at MDCPS have been aware that ISIS, GoLeaps.com, My Learning Plan, and

  much of the MDCPS website are not accessible. Similarly, leadership is aware that Aspen and

  Pinnacle are similarly inaccessible to Dr. Bartleson.

         43.     By procuring, using, and maintaining inaccessible computer programs and online

  applications and platforms, the Board’s methods of administration have precluded Dr. Bartleson

  from independently performing certain aspects of her job, enjoying certain benefits of her

  employment with the same independence and ease of use as that afforded to her sighted peers,

  and meaningfully taking advantage of employment benefits.

         44.     The Board has similarly failed to modify its methods of administration to ensure

  that Dr. Bartleson is not subjected to discrimination. In the 2016-2017 school year, the Board

  implemented Accelify, a suite of special education management programs that are critical to the

  work that Dr. Bartleson performs. Accelify is not compatible with screen readers and therefore

  not accessible to Dr. Bartleson.

         45.     The discriminatory effects of the Board’s methods of administration are ongoing.

  Because the Board has failed to implement and/or enforce procurement policies that require

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   accessibility and continually acquires inaccessible products, Dr. Bartleson will continue to be

   unable to access information technology and other critical employment benefits. Unlike her

   sighted peers, who will continue to enjoy the benefits of utilizing the website and professional

   software platforms whenever and wherever they are working, Dr. Bartleson will be forced to rely

   on others, or forgo the employment tools that she needs, and which are available to others.

          46.     Dr. Bartleson’s ability to pursue promotions and advancement has been limited by

   the District’s development, procurement, use, and maintenance of inaccessible technology. All

   job vacancies are posted on www.dadeschools.net. Like the “Reports and Forms” tab, the job

   vacancy portion of the website is not compatible with screen readers. As a result, Dr. Bartleson

   cannot view announced vacancies, nor privately apply for positions in which she is interested.

   Dr. Bartleson has attempted to overcome these barriers and pursue opportunities for

   advancement.

          47.     In April of 2016, Dr. Bartleson filed a request for reasonable accommodations

   with the ADA-District Consultative Committee (ADA-DCC). She requested, in part, a computer

   with JAWS so that she could access the aforementioned programs, applications, and platforms,

   and explore advancement opportunities independently.          For programs, applications, and

   platforms that are not compatible with JAWS, she requested 1-2 hours of clerical support per

   week as a workaround.

          48.     On April 25, 2016, Dr. Bartleson received a letter from the Assistant

   Superintendent of MDCPS. The letter provided, in part, the following responses:

                  a.      Regarding her request for accessible technology, “the ADA-DCC
                  recommends that you work with your immediate supervisor and the Office
                  of Information Technology Services (ITS) to evaluate your technological
                  needs.” She was further advised to work with Claude Archer, MDCPS’s
                  Director of Instructional Staffing, and Jorge Rubio, MDCPS’s Director of

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                 Employment and Staffing to address her job advancement interests and
                 needs.

                 b.      Regarding her request for clerical support, “the ADA-DCC found
                 that request to be unreasonable since it would cause an undue hardship on
                 the school-site.”

          49.    As advised, Dr. Bartleson reached out to Mr. Archer. He did not offer any support

   regarding job vacancies.

          50.    Dr. Bartleson also reached out to Mr. Rubio. On May 27, 2016, Dr. Bartleson sent

   the following email:

                 Every day I check my email hoping an employment opportunity will be
                 forwarded to me. I am following up to see if you are looking for me as I
                 requested due to my visual disability and the inaccessibility of the website.
                 I cannot access the employment section and do not have the district
                 connections that surely would assist this process. I continually hear about
                 all of the retirements this year and I am very interested in a change, more
                 administrative. I have been at the distinct disadvantage in my career
                 fighting discrimination, usually benign and I want to move ahead like my
                 peers. For whatever reason, my supervisor has not sent any opportunities
                 my way.

                 Perhaps it would be helpful for me to come in and speak to you personally
                 and you can get the measure of me. After 25 years working for MDCPS I
                 have a lot to offer, especially in the ESE department.

          51.    In response to this email, Mr. Rubio met with Dr. Bartleson. She expressed

   interest in applying for certain management positions and told Mr. Rubio that accessibility

   barriers precluded her from searching and applying for those opportunities on her own. Mr.

   Rubio suggested that she work with Ms. Morrison to resolve those issues. Later, in the fall of

   2016, Mr. Rubio told Dr. Bartleson of a few such positions, but none were appropriate.

          52.    Dr. Bartleson told Ms. Morrison of her interest in a promotion and job

   advancement and renewed her complaints regarding inaccessible technology. On information

   and belief, Ms. Morrison took no action.

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          53.    Dr. Bartleson did not relent and after filing a complaint with the Office of Civil

   Rights, received 4 hours of clerical assistance per week. Nevertheless, that assistance is not

   effective. Her clerical assistant is often unavailable when Dr. Bartleson needs assistance. Ad

   hoc sighted assistance is no substitute for mainstream access. Had the Board chosen to acquire,

   use, and maintain accessible technology, Dr. Bartleson would not need to depend on a clerical

   assistant, nor would the Board need to provide one.

          54.    Dr. Bartleson has continued to pursue promotional opportunities. In the Fall of

   2016, Dr. Bartleson met with Maria Diaz de Villegas, then-Chair of the Counseling Department

   at Miami Senior High School. Ms. Diaz de Villegas was retiring at the end of that school year,

   and Dr. Bartleson expressed interest in her position. Feeling that Dr. Bartleson possessed the

   right qualifications and spirit for taking over her position, Ms. Diaz de Villegas began an

   ongoing dialogue with Dr. Bartleson. As her retirement approached, the two met again. Ms.

   Diaz de Villegas advised that using ISIS was central to her job, because she regularly uses the

   program to make schedule changes, do credit recovery, and perform other key parts of the

   position. Dr. Bartleson told Ms. Diaz de Villegas that ISIS was inaccessible with her screen

   reader, JAWS. Ms. Diaz de Villegas expressed a profound sense of disappointment. Without a

   sound solution to the ISIS accessibility barriers, Dr. Bartleson felt defeated and was ultimately

   deterred from applying for Ms. Diaz de Villegas’ job.

          55.    Because of the Board’s decision to develop, procure, use and maintain

   inaccessible programs, applications, and platforms, Dr. Bartleson has not been given an equal

   opportunity for advancement. Despite Dr. Bartleson’s initiative, she remains unable to find

   promotional opportunities, and has been deterred from applying for such promotions.



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           56.    In August 2016, Dr. Bartleson filed complaints with the ADA-DCC and the

   MDCPS Office of Civil Rights Compliance.

           57.    On December 15, 2016, Dr. Bartleson, through counsel, sought to develop a

   comprehensive solution with the Board and offered to engage in an alternative dispute resolution

   process. The District declined to participate.

           58.    On January 17, 2017, Dr. Bartleson filed a charge of disability discrimination

   with the EEOC. She claimed that the Board denied her equal treatment and opportunity to apply

   for job openings or promotions by utilizing inaccessible software; refused to provide reasonable

   accommodations that were necessary for her to perform her job; and violated the ADA by

   utilizing methods of administration that have the effect of discriminating on the basis of

   disability.

           59.    On January 29, 2018, the EEOC issued a Notice of Right to Sue to Dr. Bartleson.

   As a result, Dr. Bartleson has exhausted available administrative remedies prior to the filing of

   this Complaint.

           60.    The Plaintiff has retained the services of Disability Independence Group and

   Brown, Goldstein and Levy, and has agreed to pay them a reasonable fee for their services in the

   prosecution of this cause, including all costs and expenses incurred in this action. Plaintiff is

   entitled to recover those attorneys' fees, costs and expenses from the MDCPS.

                                        CAUSES OF ACTION

                                               COUNT I

                 (VIOLATIONS OF TITLE II OF THE ADA, 42 U.S.C. § 12132)

             Using Methods of Administration That Have the Effect of Discrimination



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           61.      Plaintiff, Dr. Bartleson re-alleges and incorporates herein paragraphs one though

   60, as if stated herein.

           62.      Dr. Bartleson is a qualified individual with a disability who meets the essential

   eligibility requirements to receive or participate in all of the services, programs, and activities

   that the Board provides to MDCPS employees and community members.

           63.      The Board is a public entity that directly, or through contractual arrangements,

   develops, procures, maintains, and uses inaccessible computer programs and online applications

   and platforms.

           64.      Because of the Board’s development, procurement, maintenance, and use of

   technology that is inaccessible to Dr. Bartleson, Dr. Bartleson has been denied the opportunity to

   participate in or gain the same benefit from aids, benefits, and services that are available to other

   MDCPS employees. She has been denied opportunities for professional development and

   advancement that are available to her sighted peers and has not been afforded an equal

   opportunity to gain the same benefit or reach the same level of achievement as that available to

   her sighted colleagues. Accordingly, she has been subjected to disability discrimination as

   defined under Title II of the ADA. See 28 C.F.R. § 35.130(b)(1)(i – iii).

           65.      The Board is utilizing methods of administration that have the effect of

   discriminating against Dr. Bartleson in violation of Title II of the ADA, 42 U.S.C. § 12132. See

   28 C.F.R. § 35.130(b)(3)(i).

                         Failure to Modify Policies, Practices and Procedures

           66.      Dr. Bartleson has been, and continues to be, excluded from and denied

   participation in the services, programs, and activities available to other MDCPS employees and

   community members.

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          67.     Adopting and implementing a policy to acquire, maintain, and use accessible

   computer programs and online applications and platforms is reasonable and necessary to ensure

   equal access to MDCPS programs, services and activities by Dr. Bartleson and other qualified

   people with vision disabilities.

          68.     The Board’s failure to make reasonable modifications to its policies, practices and

   procedure for procuring, maintaining, and using accessible technology is discriminatory in

   violation of Title II of the ADA. See 42 U.S.C. 12132; 28 C.F.R. § 35.130(b)(7)(i).

                             Failure to Provide Effective Communication

          69.     Because the Board failed to develop, procure, maintain or use computer programs

   and online applications and platforms that are compatible with screen readers, information

   regarding student information, employment benefits, professional evaluations, job vacancies, and

   promotional opportunities are not effectively communicated to Dr. Bartleson.

          70.     Accessible electronic and information technology is an auxiliary aid or service

   under Title II of the ADA. See 28 C.F.R. § 35.104.

          71.     By failing to take appropriate steps to furnish appropriate auxiliary aids and

   services that are necessary to afford Dr. Bartleson effective communication, MDCPS has denied

   Dr. Bartleson effective communication, MDCPD has denied Dr. Bartleson an equal opportunity

   to participate in, and enjoy the benefits of, MDCPS employment and advancement, and the

   Board violated and continues to violate Title II of the ADA. See 28 C.F.R. § 35.160(a),(b)(1).

                                      Plaintiff Suffers Damages

          72.     As a direct and proximate result of MDCPS continuous discrimination on the

   basis of disability, the Plaintiff suffered actual damages, mental anguish and emotional distress,

   loss of enjoyment of life, and other non-pecuniary losses.

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          73.      The acts of MDCPS were in deliberate indifference, reckless disregard, intentionally

   done, and/or have had an adverse impact.

          WHEREFORE, Plaintiff, Janice Bartleson, requests the judgment of the Court against

   Defendant, Miami-Dade County School Board, as follows:

          A)       Find and hold that Plaintiff, Janice A. Bartleson, was discriminated against on the

                   basis of her disability by the Miami-Dade County School Board’s failure to

                   develop, procure, maintain, and use technology that is accessible to Dr. Bartleson,

                   and thus provide her with effective communication and an equal opportunity to

                   participate in, and enjoy the benefits of MDCPS employment and advancement;

          B)       Find and hold that Plaintiff has suffered from Defendant’s acts of discrimination,

                   on the basis of disability, in violation of Title II of the Americans with Disabilities

                   Act;

          C)       Find and hold that Defendant’s acts of discrimination were done with deliberate

                   indifference to her federally protected rights as a person with a disability, and

                   award reasonable compensatory damages,

          D)       Order that Defendant modify the information technology used by Defendant to

                   make them fully accessible, or to procure accessible information technology;

          E)       Award the Plaintiff her attorney’s fees, including litigation expenses, and the cost

                   of this action; and

          F)       Grant such other and further relief as this Court deems just and proper.

                                                COUNT II

               (VIOLATIONS OF SECTION 504 OF THE REHABILITATION ACT)

               Using Methods of Administration That Have the Effect of Discrimination

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               74.   Plaintiff, Dr. Bartleson re-alleges and incorporates herein paragraphs one though

   60, as if stated herein.

               75.   Dr. Bartleson is a qualified individual with a disability subject to protection under

   Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.

               76.   The Board is a local educational agency, see § 794(b)(2)(B), that receives federal

   funds.

               77.   The Board directly and through contractual arrangements develops, procures,

   maintains and uses inaccessible computer programs, and online applications and platforms.

               78.   Because of the Board’s development, procurement, maintenance and use of

   technology that is incompatible with screen readers and thus inaccessible to Dr. Bartleson, Dr.

   Bartleson has been denied the opportunity to participate in or gain the same benefit from certain

   aids, benefits, and services that are available to other MDCPS employees. She has been denied

   opportunities for professional development and advancement that are available to her sighted

   peers, and has not been afforded an equal opportunity to gain the same benefit or reach the same

   level of achievement as that available to her colleagues. Accordingly, she has been subjected to

   disability discrimination as defined under the Rehabilitation Act. See 28 C.F.R. § 41.51(b)(1)(i-

   iii, vii)

               79.   The Board utilizes criteria and methods of administration that have the effect of

   subjecting Dr. Bartleson to discrimination on the basis of disability. See 28 C.F.R. §

   41.51(b)(3)(i).

               80.   The Board is utilizing methods of administration that have a disparate impact on

   Dr. Bartleson, and thus the Board has violated Section 504 of the Rehabilitation Act.



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                        Failure to Modify Policies, Practices and Procedures

          81.     Dr. Bartleson has been, and continues to be, excluded from and denied

   participation in the services, programs, and activities available to other MDCPS employees and

   community members.

          82.     Adopting and implementing a policy to acquire, maintain, and use accessible

   computer programs and online applications and platforms is reasonable and necessary to ensure

   equal and meaningful access to MDCPS programs, services and activities by Dr. Bartleson and

   other qualified people with vision disabilities.

          83.     The Board’s failure to make reasonable modifications to its policies, practices and

   procedure for procuring, maintaining, and using accessible technology is discriminatory in

   violation of Section 504 of the Rehabilitation Act.

                      Failure to Take Steps to Make Communication Available

          84.     Because the Board failed to adopt, implement or enforce accessibility criteria into

   its development, procurement and technology policies and practices, information regarding

   student information, employment benefits, professional evaluations, job vacancies, and

   promotional opportunities were not communicated to Dr. Bartleson.

          85.     Accessible electronic information technology is an auxiliary aid or service under

   Section 504 of the Rehabilitation Act.

          86.     By failing to take appropriate steps to ensure that communications with Dr.

   Bartleson are effective, the Board violated and continues to violate Section 504 of the

   Rehabilitation Act. See 28 C.F.R. § 41.51(e).




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                                        Plaintiff Suffers Damages

          87.     As a direct and proximate result of MDCPS continuous discrimination on the

   basis of disability, the Plaintiff suffered actual damages, mental anguish and emotional distress,

   loss of enjoyment of life, and other non-pecuniary losses.

          88.     The acts of MDCPS were in deliberate indifference, reckless disregard, intentionally

   done, and/or have had an adverse impact.

          WHEREFORE, Plaintiff, Janice Bartleson, requests the judgment of the Court against

   Defendant, Miami-Dade County School Board, as follows:

          A)      Find and hold that Plaintiff, Janice Bartleson, was discriminated against on the

                  basis of her disability by the Miami-Dade County School Board’s failure to

                  develop, procure, maintain, and use technology that is accessible to Dr. Bartleson,

                  and thus provide her with effective communication and an equal opportunity to

                  participate in, and enjoy the benefits of MDCPS employment and advancement;

          B)      Find and hold that Plaintiff has suffered from Defendant’s acts of discrimination,

                  on the basis of disability, in violation of Section 504 of the Rehabilitation Act;

          C)      Find and hold that Defendant’s acts of discrimination were done with deliberate

                  indifference to her federally protected rights as a person with a disability, and

                  award reasonable compensatory damages;

          D)      Order that Defendant modify the information technology used by Defendant to

                  make them fully accessible, or to procure accessible information technology;

          E)      Award the Plaintiff her attorney’s fees, including litigation expenses, and the cost

                  of this action; and

          F)      Grant such other and further relief as this Court deems just and proper.

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                                               COUNT III

                              (VIOLATION OF TITLE I OF THE ADA)

                     Discrimination in Conditions and Privileges of Employment

           89.     Plaintiff, Dr. Bartleson re-alleges and incorporates herein paragraphs one through

   60, as if stated herein.

           90.     Dr. Bartleson has a disability and is qualified to perform the essential functions of

   her job.

           91.     Dr. Bartleson is an employee of the Board. 42 U.S.C. §12111(4).

           92.     The Board has more than 15 employees and thus constitutes an employer under

   Title I of the ADA. 42 U.S.C. § 12111(2), (5)(A).

           93.     Dr. Bartleson has exhausted her administrative remedies.

           94.     The opportunity for access to the information needed to perform one’s job, and

   the opportunity for meaningful professional development, and advancement are terms, conditions

   and privileges of MDCPS employment.

           95.     Because of the Board’s development, procurement, maintenance, and use of

   technology that is incompatible with screen readers and thus inaccessible to Dr. Bartleson, the

   Board has discriminated against Dr. Bartleson on the basis of her disability in the terms,

   conditions and privileges of employment, and thus has violated Title I of the ADA. 42 U.S.C. §

   12112(a) and 12112(b)(2).

           96.     Because of the Board’s development, procurement, maintenance, and use of

   technology that is incompatible with screen readers and thus inaccessible to Dr. Bartleson, the

   Board has utilized methods of administration that have the effect of discrimination on the basis

   of disability and thus has violated Title I of the ADA. 42 U.S.C. § 12112(b)(3)(A).

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          97.     As a direct and proximate result of MDCPS’ continuous discrimination on the

   basis of disability, the Plaintiff suffered actual damages, mental anguish and emotional distress,

   loss of enjoyment of life, and other non-pecuniary losses.

          98.     The acts of MDCPS were in deliberate indifference, reckless disregard and/or

   intentionally done.

          WHEREFORE, Plaintiff, Janice Bartleson, requests the judgment of the Court against

   Defendant, Miami-Dade County School Board, as follows:

          A)      Find and hold that Plaintiff, Janice Bartleson, was discriminated against on the

                  basis of her disability by the Miami-Dade County School Board’s discrimination

                  in terms and conditions of her employment;

          B)      Find and hold that Plaintiff, Janice Bartleson, was discriminated against on the

                  basis of her disability by the Miami-Dade County School Board’s methods and

                  administration in procuring its information technology;

          C)      Find and hold that Plaintiff has suffered from Defendant’s acts of discrimination,

                  on the basis of disability, in violation Title I of the Americans with Disabilities

                  Act;

          D)      Order that Defendant modify the information technology used by Defendant to

                  make them fully accessible, or to procure accessible information technology;

          E)      Award the Plaintiff her compensatory damages, attorney’s fees, including

                  litigation expenses, and the cost of this action; and

          F)      Grant such other and further relief as this Court deems just and proper.




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                                               COUNT IV

                      (VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT)

           99.     Plaintiff, Dr. Bartleson re-alleges and incorporates herein paragraphs one through

   60, as if stated herein.

           100.    The Board is an employer subject to the nondiscrimination provisions of the

   Florida Civil Rights Act. Fla. Stat. § 760.02(7).

           101.    Dr. Bartleson is a person with a disability and qualified employee of the Board.

           102.    By developing, procuring, maintaining or using computer programs and online

   applications that are not compatible with screen readers and therefore not accessible to Dr.

   Bartleson, the Board has deprived Dr. Bartleson of employment opportunities and adversely

   affected her status as an employee. Dr. Bartleson’s ability to perform her job, develop

   professionally, and explore and apply for advancement opportunities are limited on the basis of

   disability.

           103.    Because the Board has failed to take adequate action to adopt, implement, and

   enforce accessibility criteria to ensure that its policies and practices do not limit or adversely

   affect Dr. Bartleson’s status and opportunities, the Board has engaged in unlawful employment

   practices prohibited by the Florida Civil Rights Act. See Fla. Stat. § 760.10(1)(b).

           104.    The acts of MDCPS were in deliberate indifference, reckless disregard and/or

   intentionally done.

           105.    Dr. Bartleson has exhausted her administrative remedies. Fla. Stat. § 760.11(1).

           WHEREFORE, Plaintiff, Janice Bartleson, requests the judgment of the Court against

   Defendant, Miami-Dade County School Board, as follows:



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           A)      Find and hold that Plaintiff, Janice Bartleson, was discriminated against on the

                   basis of her disability by the Miami-Dade County School Board’s failure to

                   develop, procure, maintain, and use technology that is accessible to Dr. Bartleson,

                   and thus provide her with effective communication and an equal opportunity to

                   participate in, and enjoy the benefits of MDCPS employment and advancement;

           B)      Find and hold that Plaintiff has suffered from Defendant’s acts of discrimination,

                   on the basis of disability, in violation of the Florida Civil Rights Act;

           C)      Find and hold that Defendant’s acts of discrimination were done with deliberate

                   indifference to her rights as a person with a disability, and award reasonable

                   compensatory damages;

           D)      Order that Defendant modify the information technology used by Defendant to

                   make them fully accessible, or to procure accessible information technology;

           E)      Award the Plaintiff her attorney’s fees, including litigation expenses, and the cost

                   of this action; and

           F)      Grant such other and further relief as this Court deems just and proper.

                                                COUNT V

                  (VIOLATION OF FLORIDA’S EDUCATIONAL EQUITY ACT)

           106.    Plaintiff, Dr. Bartleson re-alleges and incorporates herein paragraphs one through

   60, as if stated herein.

           107.    Dr. Bartleson is an employee with a disability covered by the Florida Educational

   Equity Act.

           108.    The Board is a K-12 educational program that receives federal and state

   assistance. See F.S.A. Const. Art. IX § 4; Fla. Stat. § 1001.32.

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          109.      Dr. Bartleson has been excluded from participation in, and denied the benefits of,

   her employment in violation of the Florida Educational Equity Act. Fla. Stat. § 1000.05(2)(a).

          110.      Because of the Board’s development, procurement, maintenance and use of

   technology that is incompatible with screen readers and thus inaccessible to Dr. Bartleson, she

   has been denied equal employment opportunities because of her disability. See Fla. Admin. Code

   § 6A-19.001(3), (4).

          111.      By refusing to embrace mainstream accessibility and utilizing ineffective

   accommodations as work-arounds, the Board is providing an unnecessarily separate educational

   work environment to Dr. Bartleson. See Fla. Admin. Code § 6A-19.001(4)(a)4.

          112.      The Board has entered into contractual arrangements and has utilized

   administrative methods which have the effect of subjecting Dr. Bartleson to discrimination. See

   Fla. Admin. Code § 6A-19.001(4)(a)5.

          113.      By failing to adopt, implement or enforce accessibility criteria through its

   development, procurement and technology policies and practices, the Board is applying policies

   and practices that adversely affect a qualified employee. See Fla. Admin. Code §6 A-

   19.001(4)(a)6.

          114.      The acts of MDCPS were in deliberate indifference, reckless disregard and/or

   intentionally done.

          WHEREFORE, Plaintiff, Janice Bartleson, requests the judgment of the Court against

   Defendant, Miami-Dade County School Board, as follows:

          A)        Find and hold that Plaintiff, Janice Bartleson, was discriminated against on the

                    basis of her disability by the Miami-Dade County School Board’s failure to

                    develop, procure, maintain, and use technology that is accessible to Dr. Bartleson,

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                and thus provide her with effective communication and an equal opportunity to

                participate in, and enjoy the benefits of MDCPS employment and advancement;

        B)      Find and hold that Plaintiff has suffered from Defendant’s acts of discrimination,

                on the basis of disability, in violation of the Florida Educational Equity Act;

        C)      Find and hold that Defendant’s acts of discrimination were done with deliberate

                indifference to her federally protected rights as a person with a disability, and

                award reasonable compensatory damages;

        D)      Order that Defendant modify the information technology used by Defendant to

                make them fully accessible, or to procure accessible information technology;

        E)      Award the Plaintiff her attorney’s fees, including litigation expenses, and the cost

                of this action; and

        F)      Grant such other and further relief as this Court deems just and proper.


                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby requests a jury trial.

        Respectfully submitted this 23rd day of April, 2018.


                                By:     s/ Matthew W. Dietz
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